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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PATRICK MULLEN,                               )
                                               )    Civil Action No. 2:21-cv-00188
        Plaintiff,                             )
                                               )     Honorable Nora Barry Fischer
 v.                                            )
                                               )
 MSA SAFETY PITTSBURGH                         )    ELECTRONICALLY FILED
 MANUFACTURING, LLC.,                          )
                                               )
        Defendant.                             )    JURY TRIAL DEMANDED


                                   JOINT STATUS REPORT

       The Parties, Patrick Mullen (“Plaintiff”) and MSA Safety Pittsburgh Manufacturing, LLC

(“Defendant”), by and through their undersigned counsel file the following Joint Status Report

required by the Court’s May 10, 2021 Case Management Order (Doc. No. 16):

       1.       The parties have each exchanged their Initial Disclosures.

       2.       This case is scheduled for mediation on August 2, 2021with Judge Benson.

       3.       In order to focus their efforts on mediation, the parties have agreed to defer

engaging in written discovery until after the August 2, 2021 session.

       4.       If the case does not settle at mediation, the Parties anticipate serving written

discovery requests on the other and taking depositions in compliance with the applicable Federal

Rules of Civil Procedure.

       5.       The Parties anticipate completing discovery by the December 6, 2021 discovery

deadline.
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Dated: July 15, 2021                         Respectfully submitted,


MANES & NARAHARI, LLC                        JACKSON LEWIS P.C.


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